Case 18-66766-jwc       Doc 85    Filed 02/15/19 Entered 02/15/19 15:40:45           Desc Main
                                  Document      Page 1 of 3



                       IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                             )         Case No. 18-66766-JWC
                                                   )
BEAUTIFUL BROWS LLC,                               )         Chapter 11
                                                   )
             Debtor.                               )

     EMERGENCY MOTION TO SELL PERSONAL PROPERTY THROUGH AN
                       INTERNET AUCTION

         NOW COMES the above captioned debtor, by and through its attorney, along with the

appointed Chapter 11 Trustee Greg Hays (the “Trustee”) and hereby submits this joint motion to

approve the sale of certain personal property. In support of this motion (the “Motion”), the

Debtor and Trustee respectfully show the Court as follows:

                                JURISDICTION AND VENUE

         1. This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

Determination of this matter is a core proceeding under 28 U.S.C. § 157(b)(2)(A), (N) and (O).

Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409(a). The statutory predicates for the

actions contemplated herein are Sections 105 and 363(b) of the United States Bankruptcy Code,

11 U.S.C. §§ 101 et seq. as amended (the “Bankruptcy Code”) and Federal Rules of Bankruptcy

Procedure 2002 and 6004(a) and (c).

                                       BACKGROUND

         2. On October 3, 2018 (the "Petition Date"), Beautiful Brows, LLC (the “Debtor”),

commenced its reorganization case by filing a voluntary petition for relief under chapter 11 of

the Bankruptcy Code, 11 U.S.C. §§ 101-1330, et seq. (the "Bankruptcy Code").

         3. The Debtor owns certain personal property located at 5002 North Royal Atlanta

Drive, Tucker, Georgia, including several pieces of equipment that are not essential to the
Case 18-66766-jwc        Doc 85     Filed 02/15/19 Entered 02/15/19 15:40:45              Desc Main
                                    Document      Page 2 of 3



Debtor’s operating locations, such as a laser hair removal machine that is not being used and

several salon chairs and bar stools (collectively referred to as the “Beautiful Brows Personal

Property”)

       4. The Court has entered an Order [Doc. No. 76] authorizing the employment of

Bullseye Auction & Appraisal, LLC (“Auctioneer”) as auctioneer for the Debtor’s bankruptcy

estate , and the Auctioneer has prepared to hold an online auction on February 27, 2019.1

                                     RELIEF REQUESTED

    5. By this motion, pursuant to sections 363(b) of the Bankruptcy Code, Trustee seeks this

Court’s authorization and approval to sell the Beautiful Brows Personal Property through an

online auction “as is,” “where is,” “with all faults” and without representation or warranty, express

or implied.

    6. Trustee moves for authority to have all gross sale proceeds paid to him at closing, and

Trustee requests authorization to pay Auctioneer a ten (10%) percent commission on the gross sales

price of the Beautiful Brows Personal Property as well as authorization for Auctioneer to receive a

ten (10%) percent buyer’s premium from each individual buyer. Trustee also request authorization

to pay Auctioneer $500 as reimbursement for auction expenses. A separate motion will be filed to

obtain court approval to make any further disbursements of sale proceeds

    7. Based on the urgency of closing this proposed sale, the parties request that the Court’s

order on this matter provide that Interim Bankruptcy Rule 6004(h) not apply and that the order

not be stayed.




1 The online auction will be held on Auctioneer’s website through the following link:
https://www.bullseyeauctions.com/auctions/detail/gentle-yag-pro-u-pulsed-laser-hair-removal-machines-
large-in-bw35970
Case 18-66766-jwc        Doc 85     Filed 02/15/19 Entered 02/15/19 15:40:45          Desc Main
                                    Document      Page 3 of 3



    WHEREFORE, the Debtor and the Trustee respectfully request that this Court enter an

Order: (i) approving the proposed Section 363 sale of personal property as described herein, and

(ii) granting such other relief as is just and proper

        Respectfully submitted this 15th day of February, 2019

                                                JASON L. PETTIE, P.C.

                                                By: /s/ Jason L. Pettie____________
                                                Jason L. Pettie, Attorney for Debtor
                                                       Georgia Bar # 574783
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                                                By: /s/ S. Gregory Hays____________*
                                                         S. Gregory Hays, Trustee
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                                                         ghays@haysconsulting.net
                                                         *signed by Jason L. Pettie, with express
                                                         permission granted 2/15/2019
